           Case 2:97-cr-00609-EJG Document 131 Filed 06/09/05 Page 1 of 4


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 6              IN THE UNITED STATES DISTRICT COURT FOR THE

 7                      EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,

10                    Plaintiff,
                                             CR. NO. S-97-0609 EJG
11             v.
                                             ORDER DENYING REQUEST FOR
12   VINCENTE MAGANA-ARANDA,                 WRIT OF AUDITA QUERELA

13                  Defendant.
     _____________________________/
14

15        Defendant, a federal prisoner proceeding pro se, has filed a

16   motion purporting to be a “common law writ of audita querela”

17   through which he seeks to vacate his sentence and set aside his

18   conviction.    For the reasons that follow, the requested relief is

19   DENIED.

20                                  BACKGROUND

21        Defendant was convicted October 9, 1998, following a jury

22   trial, of conspiracy to distribute methamphetamine and possession

23   of methamphetamine with intent to distribute, in violation of 21

24   U.S.C. §§ 841(a)(1) and 846, and was sentenced January 11, 1999

25   to a term of 135 months incarceration and five years supervised

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           Case 2:97-cr-00609-EJG Document 131 Filed 06/09/05 Page 2 of 4


 1   release.   His sentence and conviction were affirmed by the Ninth

 2   Circuit Court of Appeals in an unpublished memorandum disposition

 3   filed June 2, 2000.    Four years after his conviction was

 4   affirmed, defendant filed a motion for post-conviction relief

 5   pursuant to 28 U.S.C. § 2255, contending that the Supreme Court’s

 6   Blakely v. Washington decision was an intervening change in the

 7   law that mandated re-evaluation of defendant’s sentence.           An

 8   order denying the motion as untimely was filed September 7, 2004.

 9        The instant motion, filed February 28, 2005, is defendant’s

10   most recent post-conviction challenge, and seeks to set aside,

11   correct or vacate his sentence based on the Supreme Court’s

12   Booker/Fanfan decision, issued in January of this year.

13   Defendant argues he is entitled to the benefit of that case

14   because his sentence was enhanced based on facts not found beyond

15   a reasonable doubt by the jury.

16                                  DISCUSSION

17        Recognizing that he is procedurally barred from asserting

18   his claim as a section 2255 motion, defendant has applied other

19   labels.    Initially characterized as a writ of error audita

20   querela (defendant’s moving papers) and later as a Winship claim

21   (defendant’s reply papers), stripped to its essence, defendant’s

22   motion is a collateral attack on his conviction which is

23   appropriate only as a motion to vacate, set aside or correct his

24   sentence pursuant to section 2255.       “[A] federal prisoner may not

25   challenge a conviction or sentence by way of a petition or a writ

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                Case 2:97-cr-00609-EJG Document 131 Filed 06/09/05 Page 3 of 4


 1   of audita querela when that challenge is cognizable under §2255.”

 2   United States v. Valdez-Pacheco, 237 F.3d 1077, 1080 (9th Cir.

 3   2001).

 4          Defendant’s motion, no matter how it is labeled, seeks to

 5   vacate his sentence.           The only vehicle for doing so given the

 6   post-conviction procedural posture of the case is through a

 7   section § 2255 proceeding.              The fact that defendant’s request for

 8   relief under that statute has been previously denied does not

 9   allow him access to other avenues of postconviction relief.

10   Common law writs such as coram nobis and audita querela are

11   available only to fill gaps in the federal postconviction

12   remedial framework.           Doe v. INS, 120 F.3d 200, 203 (9th Cir.

13   1997).       The procedural limitations of time (one year from date of

14   conviction) and quantity (no successive petitions without circuit

15   court approval) imposed by Congress and the Supreme Court on

16   defendants seeking to challenge convictions by way of section

17   2255 motions do not create a gap that can be filled by resort to

18   legal means. “A prisoner may not circumvent valid congressional

19   limitations on collateral attacks by asserting that those very

20   limitations create a gap in the postconviction remedies that must

21   be filled by the common law writs.”                  Valdez-Pacheco, 237 F.3d at

22   1080.      In other words, section 2255 is not an inadequate remedy

23   merely because it procedurally bars defendant’s claim.1

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             Moreover, even were the court able to consider defendant’s claim, it would fail. The
25   Supreme Court has not made Booker/Fanfan retroactive to cases on collateral review.
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           Case 2:97-cr-00609-EJG Document 131 Filed 06/09/05 Page 4 of 4


 1                                  CONCLUSION

 2        Based on the foregoing, defendant’s request for a writ of

 3   audita querela is DENIED.

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 5        IT IS SO ORDERED.

 6   Dated: June 8, 2005

 7                                     /s/ Edward J. Garcia
                                       EDWARD J. GARCIA, JUDGE
 8                                     UNITED STATES DISTRICT COURT

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